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Monica Flood Brennan, ISB 5324
JAMES, VERNON & WEEKS, P.A.
Attorneys at Law
1626 Lincoln Way
Coeur d'Alene, ID 83814
Telephone: (208) 667-0683
Facsimile: (208) 664-1684
Mbrennan@jvwlaw.net
Attorneys for Plaintiffs

                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

DANIEL ST. JOHN AND DAWN
WORKMAN, a married couple,                        Case No.: 2:21-cv-00085-BLW

                                   Plaintiffs,
                                                  COMPLAINT FOR DAMAGES AND
vs.                                               DEMAND FOR JURY TRIAL

KOOTENAI COUNTY, IDAHO; the
KOOTENAI COUNTY SHERIFF’S OFFICE,
BENJAMIN WOLFINGER, individually and
in his official capacity as the Kootenai County
Sheriff; Lieutenant Scott Maxwell
individually and in his official capacity as a
Kootenai County Lieutenant Sheriff; Vivienne
Reynolds, individually and in her official
capacity as the Kootenai County Sheriff
Animal Control Officer; Shane Vrevich
individually and in his capacity as a Kootenai
County Sheriff Deputy; Michael Hanson,
individually and in his capacity as a Kootenai
County Sheriff Deputy; Craig Chambers,
Individually and in his capacity as a Kootenai
County Sheriff Deputy; Anthony Ghirarduzzi,
Individually and in his capacity as a Kootenai
County Sheriff Animal Control Officer; Scot
Barnes individually and in his official
capacity and an employee for the State of
Idaho working on behalf of the Kootenai
County Sheriff and the State of Idaho as
Department of Agriculture employee; and
JOHN/JANE DOES 1-10, individually and in
their official capacities,

                          Defendants.
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       COMES NOW, the above-named Plaintiffs Daniel St. John and Dawn Workman, husband

and wife, by and through their attorney of record, Monica Flood Brennan of the law firm James,

Vernon & Weeks, P.A., and for a cause of action against the above-named Defendants, and

complains and alleges as follows:
                                     I.
              IDENTITY OF THE PARTIES, JURISDICTION AND VENUE

       1.1    Plaintiff Daniel St. John, is a married male who was living in Kootenai County

              Idaho at the time of the alleged incidents.

       1.2    Plaintiff Dawn Workman is a married female living and owning a farm in Kootenai

              County, Idaho at the time of the alleged incidents.

       1.3    The Plaintiffs will hereinafter be referred to as “the St.Johns.”

       1.4    Defendant Kootenai County, Idaho is a corporate body pursuant to I.C. §31-601

              and other applicable law.

       1.5    Defendant Benjamin Wolfinger is an Idaho citizen.

       1.6    Defendant Benjamin Wolfinger in his official capacity as Kootenai County Sheriff

              at the time of the alleged incidents was an officer of Kootenai County, Idaho

              pursuant to I.C. §31-2001(1) and other applicable law. Sheriff Wolfinger’s culpable

              acts and omissions were undertaken under color of state law. Sheriff Wolfinger

              operated the Kootenai County Sheriff’s Office as an instrumentality of Kootenai

              County, Idaho. Sheriff Wolfinger, as a statutory officer of Kootenai County, had a

              final policy making authority for Kootenai County and the Kootenai County Sheriff

              Office and acted as a final policymaker with regard to all of his culpable decisions,

              including hiring, retaining, training, supervising, and controlling deputy sheriffs.

       1.7    Defendant Vivienne Reynolds is an Idaho Citizen.

       1.8    In her official capacity, Deputy Reynolds was a deputy acting on behalf of Kootenai

              County, Idaho, the Kootenai County Sheriff’s Office and Sheriff Wolfinger.

              Defendant Vivienne Reynolds culpable acts and omissions were undertaken under


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             color of state law.

     1.9     Defendant Scott Maxwell is an Idaho Citizen.

      1.10   In his official capacity, Lieutenant Scott Maxwell was an officer acting on behalf

             of Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger. Defendant Lieutenant Scott Maxwell’s culpable acts and omissions

             were undertaken under color of state law.

      1.11   Defendant Shane Vrevich is an Idaho Citizen.

      1.12   In his official capacity, Defendant Shane Vrevich was an officer acting on behalf

             of Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger. Defendant Shane Vrevich’s culpable acts and omission were undertaken

             under color of state law.

      1.13   Defendant Michael Hanson is an Idaho Citizen.

      1.14   In his official capacity, Defendant Michael Hanson was an officer acting on behalf

             of Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger.     Defendant Michael Hanson’s culpable acts and omissions were

             undertaken under color of state law.

      1.15   Defendant Craig Chambers is an Idaho Citizen.

      1.16   In his official capacity, Defendant Craig Chambers was an officer acting on behalf

             of Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger.     Defendant Craig Chambers culpable acts and omissions were

             undertaken under color of state law.

      1.17   Defendant Anthony Ghirarduzzi is an Idaho Citizen.

      1.18   In his official capacity, Defendant Anthony Ghirarduzzi was an officer acting on

             behalf of Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger. Defendant Craig Chambers’ culpable acts and omissions were

             undertaken under color of state law.

      1.19   Defendant Scott Barnes is an Idaho Citizen.

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      1.20   In his official capacity, Defendant Scott Barnes was an officer acting on behalf of

             Kootenai County, Idaho, the Kootenai County Sheriff’s Office and Sheriff

             Wolfinger and for the Department of Agriculture for the State of Idaho. Defendant

             Scott Barnes’ culpable acts and omissions were undertaken under color of state law.

      1.21   Collectively, Deputies and Officers Maxwell, Reynolds, Vrevich, Hanson,

             Chambers, Ghirarduzzi, and Barnes will be referred to herein as “the Deputies.”

      1.22   John/Jane Does 1-10 are/were persons acting on behalf of Kootenai County, the

             Kootenai County Sheriff Department, Sheriff Wolfinger, and the Deputies; and/or

             whose acts and omissions were actual, direct and proximate causes of the illegal

             taking of property and the emotional and physical injuries to Dawn Workman and

             Daniel St. John. The true identities, acts or omission of John/Jane Does 1-10 are

             currently unknown. Plaintiffs reserve the right to Amend this Complaint if or when

             their identities and/or actions and/or responsibilities are discovered.
      1.23   Jurisdiction and Venue: This Court has jurisdiction and venue over this case by

             virtue of Idaho Code §5-514, Idaho Code §5-404, and 28 U.S.C. §§1331, 1343, and

             1367 and other applicable laws because this action arises under the Constitution

             and the laws of the United States to redress the deprivation of Daniel St. John’s and

             Dawn Workman’s civil rights, and because those claims arising under Idaho law

             form a part of the same case or controversy under Article III of the United States

             Constitution.

      1.24   The Court has personal jurisdiction over Defendants because they committed acts

             and omissions giving rise to the Workman/ St. John’s damages.

     1.25    Venue is proper in Kootenai County pursuant to 28 U.S.C. §1391(b)(1) and (2) and

             other applicable law because Defendants reside in Idaho and because a substantial

             part of the events or omissions giving rise to the case occurred in Idaho, Kootenai

             County.

     1.26    On or before August 18, 2019, the St. Johns timely presented a Notice of Idaho Tort

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                Claim to the Kootenai County Clerk and the Secretary of State of Idaho, the

                Kootenai County Sheriff Department. This notice was sufficient in all respects to

                preserve Plaintiff’s rights to assert claims against Defendants under Idaho state law.

                Kootenai County has denied this claim.

       1.27     Plaintiffs have satisfied the requirement of I.C.§ 6-610 by posting a bond with two

                sufficient sureties prior to the filing of the Complaint and in accordance with the

                Orders of this Court.

                                           II.
                                  GENERAL ALLEGATIONS

       2.1      Plaintiff incorporates by reference all other paragraphs of this Complaint as if set

forth herein.

       2.2      The St. Johns, Daniel St. John and Dawn Workman are a married couple who, on

February 14, 2019 owned a small family farm in Post Falls, Kootenai County, Idaho.

       2.3      The St. Johns’ farm had chickens, sheep, pigs, dogs, cats, and bulls as well as many

other animals. One of the animals that was considered a family pet was a sheep named “Baa Baa”

who was raised by bottle feeding, was not kept in a pen and who would ride in the cab of the truck

with Mr. St. John when he would go on errands. The children would pet Baa Baa and loved it

when he came with Mr. St. John.
       2.4 The St. Johns also had a bull named “Ferdinand” who was a family pet as well as

livestock. This animal was a large animal in excess of 400 pounds with horns.

       2.5      The winter of February, 2019 was very cold and had quite a large snow fall before

up to February 14, 2019 and extending to February 21, 2019.

       2.6      Many of the Plaintiffs’ animals resided outside with coverings and/or enclosures

during the winter time, which is common in North Idaho. Mr. St. John and his wife had to feed

the animals daily and bring them fresh water twice a day before it froze.

       2.7      Over the course of several years the St. John’s had invested a lot of time, money,

love, hopes and heartache into the animals on the farm. Some animals were considered livestock,

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while others were considered family pets.

       2.8 On or around February 14, 2019, some of the animals on the farm had died of a flu or

some disease. Mr. St. John left some dead animal bodies buried in the snow until the thaw because

they were frozen solid.

       2.9 On or around February 14, 2019, Kootenai County Sheriff Officers arrived at the

family farm of the St. Johns and entered the property without a warrant. The officers took pictures

of all of the animals at the farm and their condition.

       2.10 On or around February 14, 2019, Kootenai County Sheriff Deputies served a notice

on the St. Johns requiring them to do certain things regarding their animals and their care, including

making sure they had running water and heat. The Sheriff Deputies gave the St. Johns 7 days to

accomplish these tasks. These demands were unreasonable, but Mr. St. John attempted to

accomplish the tasks as requested.

       2.11 On or around February 20 and 21, 2019, Kootenai County Sheriff Deputies arrived

at the family farm of the St. John’s and began confiscating some of the St. John’s animals.

       2.12    On or around February 21, 2019, the Deputies advised Daniel St. John that they

were going to take his bull, Ferdinand, and his sheep, Baa Baa, and other animals, into state

custody.

       2.13 They arrived with a trailer and instructed Mr. St. John to herd the bull into the trailer.

The Deputies told Mr. St. John that he had to cooperate with herding the bull, he would not be

charged with a crime of animal cruelty.

       2.14 The Kootenai County Sheriff Department arrived with a trailer and told Mr. St. John

that he should assist them in putting the bull named “Ferdinand” into the trailer. Mr. St. John

said, “do I have to?” Officers advised him they would go easier on him if he assisted them.

       2.15 On or around February 21, 2019, Daniel St. John, being armed with only a rake,

obeyed the commands of the Deputies by trying to Ferdinand into a trailer.

       2.16 The bull was approximately 500 pounds with large horns. The snow was very deep

and there were deep trails running through the snow through which the bull was being prodded.

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       2.17 Deputy Reynolds wrote in her official report, “The bull may pose a safety threat while

we were herding it down a path to the trailer.” After Reynolds contacted her supervisor, Lieutenant

Maxwell, for instructions, she reported, “he instructed us to make an effort but to stop if anyone

felt endangered. As a precaution, Deputy Hanson and Chambers armed themselves.”

       2.18 The report is attached hereto as Exhibit B.

       2.19 Kootenai County Sheriff Deputies and Animal Control Officers stood armed, far

away, watching while Mr. St. John and a civilian who owned the trailer attempted to prod the bull

into the trailer. The man hired by the county was stabbing the bull with a pitch fork while Mr. St.

John attempted to coax the bull with the head of his rake.

       2.20 While watching, the Deputies openly discussed what they would do if and when Dan

St. John was gored by the bull while they watched him attempt to put the bull in the trailer.

       2.21 Officer Hanson wrote in his official report, “I was next advised there was some

concerns that the bull may become aggressive once released from the fenced area. ACO Reynolds

spoke with Lt. Maxwell, who was advised of the situation and confirmed an attempt should be

made to impound the animal. Due to safety concerns, Deputy Chambers and I armed ourselves

with our issued 12ga shotguns, loaded with slugs, in case the bull became violent. St. John released

the bull from the enclosed area, and people on scene attempted to herd it into the waiting trailer.”

       2.22 As Kootenai County Sheriffs armed with weapons were standing by, the bull became

angered and gored Mr. St. John several times, ramming him violently up against a trailer. Due to

the high snow shoots, Mr. St. John had not where to run away from the bull.

       2.23 Deputy Hanson wrote in his official report, “ The bull would not cooperate, and

refused to go inside the trailer or back toward the fenced in area. At one point, it started to walk

directly toward Deputy Chambers, who was standing off to the side on a small trail in the snow.

As the bull approached Deputy Chambers, he was unable to make it stop, and had to jump off of

the trial into the deep snow to avoid getting trampled. As St. John and others continued to herd

the bull into the trailer, (it) continued to become more and more agitated, and began grunting and

swinging its head in an aggressive manner.”

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        2.23   Mr. St. John was blocked and could not escape the inevitable violent attack by the

bull.

        2.24 In his official report, Deputy Hanson wrote, “As St. John attemped to make the bull

back up towards the rear of the trailer, I observed the bull charge St. John with its head lowered.

The bulls head, and horns, made contact with St. John’s body, and I observed it lift him up into

the air with its horns. St. John was turned upside down and then thrown to the ground, near the

trailer hitch. The bull again charged St. John, causing him to crawl underneath the bed of the

pickup for safety.”

        2.25 The bull violently gored Dan St. John in his testicles, penis and groin area. There was

blood emanating from his crotch. The bull broke two of Dan St. John’s ribs, from which he still

suffers daily pain. He also suffered serious long-term injuries to his back and right shoulder. Said

injuries make it impossible for Dan St. John to work in his previous profession as a painter and he

can no longer take care of his farm the way he could before the incidents herein.

        2.26 Thereafter, the Deputies shot the bull and killed it.

        2.27 In his official report, Deputy Hanson wrote, “Due to St. John and myself being in

imminent danger from the bull, and it not showing any signs of stopping its aggressive behavior,

I made the decision to use my shotgun to stop the threat.”

        2.28 The Kootenai County Sheriff Department and the state of Idaho then charged Mr. St.

John with over 30 counts of criminal acts of Injury to Animals and or Animal Cruelty.

        2.29 All criminal charges against St. John have been either dismissed and/or he has been

fully exonerated.

        2.30 The Kootenai County Sheriff Department thereafter killed and/or gave away and/or

exterminated most of the St. John’s animals that were confiscated from him.

        2.31 Daniel St. John went to visit his animals in the care of the Kootenai County Sheriff

Department. They were not looking well, and their water was frozen just as it had been at his

residence, which the Deputies advised him was unacceptable.

        2.26 The St. Johns lost their family pets, “Ferdinand” and “Baa baa” as well as many

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livestock, chickens, roosters, sheep and pigs, as well as their dream of a family farm, and their

trust in the state and the police.

                 The Deputies’ Unfitness as Officers and Animal Control Officers

          2.27 The Deputies as a whole were unfit to handle the job they set out to accomplish. As

a whole no one was properly trained as to how to handle a bull with horns.

2.28 All Deputies were untrained and did not have the skill or knowledge regarding whether the

animals were properly cared for by the Plaintiffs.

2.29 All of the Deputies were not following any appropriate policy of how and when to impound

animals.

2.30 Deputy Reynolds was unfit and untrained to handle a bull with horns or how to instruct others

how to do so. She did not have the proper qualifications to determine when and how to confiscate

farm animals.

2.31 The Kootenai County Sheriff’s Office and the Deputies, without any law or authority,

wrongfully seized the property of the St. Johns.

2.32 The Kootenai County Sheriff’s Officer, and the Deputies, without any law or authority,

wrongfully and recklessly forced Mr. St. John into a situation wherein he would clearly be injured

or possibly killed.

                                                III.

                             FOURTH AMENDMENT CLAIMS

          3.1 Plaintiffs incorporate all allegations set forth hereinabove as though fully set forth at

length.

          3.2 The Fourth Amendment of the United States Constitution prohibits law enforcement

officers from using excessive force when seizing citizens and or their property.

          3.3 The Fourth Amendment of the United States Constitution prohibits the government

from unreasonable searches and seizures.

          3.4 The Deputies’ treatment of Dan St. John was a physical assault on his person that was

unwarranted.

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       3.4 Daniel St. John and Lisa St. John are entitled to bring an action based on the violation

of their Constitutional rights pursuant to 42 U.S.C. § 1983 and other applicable laws.

       3.5 The Deputies’ instruction to Daniel St. John to assist them with putting a bull into the

trailer at the threat of arresting and or charging him with a crime constituted excessive force,

unlawful seizure, unlawful detention, and unlawful treatment of a person within their control and

or custody in violation of the Fourth Amendment. The behavior was reckless and wanton, and or

grossly negligent.

       3.5 The Deputies seizing the personal property and livestock of the St. John’s without

probable cause was a violation of their Fourth Amendment Rights against unreasonable searched

and seizures.

                                    IV.
                NEGLIGENCE, NEGLIGENCE PER SE, RECKLESSNESS,
                   AND TORTIOUS CONDUCT OF DEFENDANTS
                   CAUSING PERSONAL INJURY TO PLAINTIFF
       4.1      Plaintiff incorporates by reference all other paragraphs of this Complaint as if set

forth herein.

       4.2      At the time of the events described in the preceding paragraphs, Defendants had

certain duties imposed upon him by statutes, rules, regulations and common law which they then

and there owed to Plaintiffs; and said Defendants did negligently, gross negligently, carelessly,

recklessly, heedlessly and tortiously breach said duties, including but not limited to:

                4.2.a   Causing physical damage to Plaintiff Daniel St. John in his groin area and

       shoulder;

                4.2.b   Causing emotional abuse to both Plaintiffs by taking their property without

       just cause and causing them to feel unsafe in their home and personal safety;

                                    V.
                NEGLIGENCE, NEGLIGENCE PER SE, RECKLESSNESS,
                AND TORTIOUS CONDUCT OF DEFENDANTS CAUSING
                 EXTREME EMOTIONAL DISTRESS TO PLAINTIFFS
       5.1      Plaintiff incorporates by reference all other paragraphs of this Complaint as if set

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forth herein.

        5.2      At the time of the events described in the preceding paragraphs, Defendants’

negligence and gross negligence caused extreme emotional distress to Plaintiffs. Due to all of the

behavior and actions of Defendants, Plaintiffs will have difficulty feeling safe in his home and or

in his ownership of property.

        5.3 Due to the acts of Defendants, Plaintiffs have physical manifestations of emotional

distress including but not limited to, nightmares, night sweats, clammy hands, crying, shaking, and

lack of sleep.

                                              VI.
                      RETURN OF WORKMAN AND ST. JOHN’S PROPERTY

        6.1 Plaintiff incorporates by this reference all other paragraphs of this Complaint as if set

forth herein.

        6.2 Defendants took without permission and without due process of law many items of

personal property which had emotional value as well as economic value belonging to the St. Johns.

These items were destroyed have not been returned.

        6.3 The St. John’s dream of having a family farm in retirement have been ruined due to

the actions of the Kootenai County Sheriff Department acting on behalf of the State of Idaho.

                 6.4 The items taken by Defendants valued in excess of $10,000 and were also

emotionally valuable to the Plaintiffs, which items have not been compensated by Defendants.

                            IDAHO STATE LAW CLAIMS

                                              VII.

        7.1 Plaintiffs incorporate by this reference all other paragraphs of this Complaint as if set

forth fully herein.

        7.2 Kootenai County and the Kootenai County Sheriff’s Office can only through their

commissioners, officers, deputies, employees and agents and are vicariously liable for their acts

and omissions within the scope of their duties.

        7.3 Sheriff Wolfinger acts through his deputies, employees, and agents and is vicariously

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liable for their acts and omissions within the scope of their duties.

          7.4 All of the tools used to seize the St. John’s animals and force Mr. St. John to conduct

actions which ultimately led to his injuries were regulated and controlled by the Deputies and by

Kootenai County, the Kootenai County Sheriff’s office and Sheriff Wolfinger.

          7.5 The Deputies failed to exercise reasonable care and by acts and omissions including

but not limited to:

          a. Instructing Mr. St. John that he was to assist them with boarding a bull into a trailer

without a weapon at the threat of being arrested and/or charged with a crime.

          b. Causing great bodily harm to Dan St. John by instructing him to act in a way that was

foreseeably going to cause him injury.

          c. Standing by with weapons and joking about how Mr. St. John was going to be gored by

a bull.

          d. Taking the St. John and Workman property without probable cause, due process and

under color of state law.

          e. Keeping Mr. St. John out of harms way by having a government employee with training

and experience herd the bull rather than instructing Mr. St. John to do so.

          f. Not taking care of the animals and property of the St. John’s after they were seized and

causing their destruction.

          g. Failing in all of the circumstances involved to use reasonable care in handling Mr. St.

John and the Workman and St. John’s property.

          7.6 Kootenai County, the Kootenai County Sheriff’s Office, and Sheriff Wolfinger failed

to exercise reasonable care by acts and omission including but not limited to:

          a. Negligently hiring and retaining the Deputies who are named herein and also Does I-

10, although they knew or should have known that the Deputies were unfit for the tasks they were

performing.

          b. Failing to train, or improperly training, the Deputies;

          c. Failing to enact necessary policies and procedures; and

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        d.    Failing to properly supervise or control the Deputies regarding the handling of

dangerous animals and the handling of animals in general and the instructions of civilians

regarding putting them in dangerous situations; and

        e. Failing to otherwise use reasonable care under all circumstances.

        7.7 Defendants’ misconduct was negligent, reckless, malicious and/or undertaken with

criminal intent.

        7.8 Defendants’ misconduct actually, directly and proximately caused injury to Dan St.

John.

        7.9 Defendants’ misconduct caused Daniel St. John and Dawn Workman to suffer personal

injury and loss of property.

                                                 VIII.
                                  CAUSATION AND DAMAGES

        8.1      Plaintiffs incorporates by reference all other paragraphs of this Complaint as if set

forth herein.

        8.2      As a direct and proximate result of Defendants’ negligence, gross negligence,

negligence per se, carelessness, recklessness, heedless conduct and tortious conduct, and breach

of Constitutional Rights under the Fourth and Fourteenth Amendments, including but not limited

to claims for:

                 8.2.a   The reasonable value to Plaintiffs for their loss of property;

                 8.2 b. The reasonable value to Plaintiff Daniel St. John for personal injury

        including,

                 8.2.c   Loss of feeling safe and secure in his and her home;

                 8.2.d   Loss of consortium;

                 8.2 e Pain and Suffering to Daniel St John due to physical injuries;

                 8.2.f Mental suffering and anguish;

                 8.2.g   All other damages suffered by the Plaintiffs

        8.3      As a direct and proximate result of Defendant’s negligence, gross negligence,

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negligence per se, carelessness, recklessness, heedless conduct and tortious conduct, Plaintiffs

have incurred emotional distress damages attended by physical manifestations, including but not

limited to emotional distress resulting from the damages to Plaintiffs.

                                           IX.
                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against said Defendants joint and severally in

an amount in excess of $10,000.00, as will sufficiently compensate Plaintiffs for damages received,

along with reasonable costs, interest, attorney fees and such other relief as the Court may deem

appropriate.
                                 DEMAND FOR JURY TRIAL

       COME NOW the above-named Plaintiff(s) by and through his/her (their) attorneys and

demands a trial by jury on all issues herein.

       DATED this 19th day of February, 2021.

                                                JAMES, VERNON & WEEKS, P.A.
                                                Attorneys for Plaintiff


                                                _/s/Monica Flood Brennan_______
                                                Monica Flood Brennan, ISB# 5324




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                                                                 Exhibit A
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                                 NOTICE OF TORT CLAIM

TO:    Kootenai County Clerk
       451 N. Government Way
       Coeur d’Alene, ID 83814

       and to,

       Kootenai County Sheriff Department
       Ben Wolfinger
       5500 N. Government Way, Coeur d’Alene ID 83815
       Coeur d’Alene, ID 83815

       and to,

       Kootenai County Prosecutor
       Barry McHugh
       501 N. Government Way
       Coeur d’Alene, ID 83814

       and to:

       Secretary of State
       PO Box 83720
       Boise, Idaho 33720-0080

       COMES NOW, claimant, Daniel St. John, and his wife, Dawn Workman, by and through
Monica Flood Brennan, Attorney at Law, with the law firm of James, Vernon & Weeks, P.A.,
and presents the Notice of Tort Claim to the Idaho Secretary of State for filing, in compliance
with Title 6, Chapter 9, Idaho Code. The undersigned hereby presents a claim against the
Kootenai County Sheriff Department, Kootenai County Prosecutor’s Office and State of Idaho
for damages arising out of any occurrence which happened as follows:

Name of Claimant: Daniel St. John,

Street Addresses: 13108 W. Marghishward Rd, Post Falls, ID 83854

Phone Number: Ph: 208-691-4375

Daniel St. John: c/o Attorney Monica Flood Brennan: phone: 208-667-0683 c/o James, Vernon
and Weeks, P.A.

1.     Date and time: On or about; February 14, 2019 to February 21, 2019

2.     Place or location: 13108 W. Marghishward Rd, Post Falls, ID 83854;

3.     Cause of damages:


                                                                                          Exhibit B
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On February 14, 2019, Claimant owned a small gentleman’s farm. He had sheep, chickens,
      Bulls, and pigs. It was the middle of winter and there had been a significant amount of
      snow for several days and several weeks. The state wrongfully took his animals claiming
      that he had neglected and or harmed them.

On February 21, 2019, the Kootenai County Sheriff Department came to Daniel St. John’s
      residence and advised him in person that they were confiscating his animals. They
      advised Mr. St. John that he was to assist them in loading his bull, named Ferdinand, into
      a trailer for removal to the Fair Grounds. While they watched with weapons, Mr. St.
      John attempted to coax the bull down a narrow path in the snow and to get the bull to
      enter a horse trailer. Meanwhile, a civilian hired by the State was on scene with a pitch
      fork stabbing the bull and trying to make the bull get into the trailer. Mr. St. John was
      unarmed, except that he was attempting to push the bull with a rake. The police did not
      allow or advise Mr. St. John to have any type of weapon. They advised Mr. St. John that
      if he did not assist them, they would take that into consideration as to whether he was
      being cooperative. When Mr. St. John was behind the trailer, and the man with the pitch
      fork was behind the bull stabbing at the bull, the bull charged Mr. St. John and stabbed
      him with his horns repeatedly, goring him in the body and groin area, pinning him up
      against a trailer and on the ground. Mr. St. John suffered long term injuries to his back,
      groin, and shoulder area.

4.     Witnesses Known at this Time:

       Name                          Address                              Phone Number

       Dawn Workman                  13108 W. Marghishward Rd
       Dan St. John’s wife           Post Falls, ID 83854              208-691-3368

       Mike George                   6862 N. 25th East                 208-521-4224
                                     Idaho Falls, ID

       Pat Boss                      Address Unknown
                                     Neighbor of Dan St. John

       Kimo Kaheana                  Address Unknown                   208-777-5224
                                     Neighbor of Dan St. John

       Annie and Nick Kazor          Address Unknown                   919-398-1512

       Scott Maxwell       5500 N. Government Way
       Kootenai County Sheriff   Coeur d’Alene, ID 83815

       Craig Chambers                       5500 N Government Way,
       Kootenai County Sheriff              Coeur d'Alene, ID 83815

       Shane Vrevich                 5500 N. Government Way,
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       Kootenai County Sheriff             Coeur d'Alene, ID 83815

       Richard John                        12451 W. Monument Dr
                                           Post Falls, ID 83854

       Anthony Ghirarduzzi          5500 N. Government Way
       Kootenai County Sheriff            Coeur d'Alene, ID 83815

       Michael Frank Hanson                5500 N Government Way
       Kootenai County Sheriff             Coeur d'Alene, ID 83815

       Annie Bowes, DVM                    3521 N. Greensferry Road
                                           Post Falls, ID 83854

       Scott Barnes, DVM, Idaho Dept. of Agriculture, PO Box 7249,
                                                         Boise, ID 83707

       Vivian Reynolds                     5500 N. Government Way
       Kootenai County Sheriff             Coeur d’Alene, ID 83815

       Kerry Sanford                       1118 F Street
       Kootenai County Sheriff             Lewiston, ID 83501

5.     Amount of Claim: $1,000,000;

6.     Daniel St. John asserts personal injury and constitutional claims. He is claiming all
       damages caused by Defendants’ wrongful conduct, including but not limited to:
A:     Reckless Infliction of Personal Injury .
B:     Reckless Infliction of Emotional Harm including extreme emotional distress due to these
       incidents. Defendants’ acts and omissions were in violation of Daniel St. John’s
       constitutional rights as well as Idaho law.
C:     Loss of income and loss of ability to engage in gainful activity
D:     Loss of his animals

7.     Daniel St. John’s wife, Dawn Workman, has incurred damages in the form of Loss of
       Consortium and loss of her animals.

Dated this        day of August, 2019.


                                           JAMES, VERNON & WEEKS, P.A.

                                           _________________________
                                           By: Monica Flood Brennan
                                              Attorney for Plaintiff
